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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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                                  :
 UNITES STATES OF AMERICA,        :
                                  :
                                  :               ORDER OF REFERRAL
  -vs-                            :
                                  :               CR-23-236-1(FB)
 Sagar Steven Singh,              :
                 Defendant.       :
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          The defendant,   ABOVE    , having asked for permission
to enter a plea of guilty and having consented to have a United
States Magistrate Judge hear the application, the matter is
referred to Magistrate Judge _HENRY       to administer the
allocution pursuant to F.R.Crim.P. Rule 11, and make a finding
as to whether the plea is knowingly and voluntarily made and not
coerced, and to make a recommendation as to whether the plea of
guilty should be accepted.

                                                 SO ORDERED:


                                              _/s/ Frederic Block_
                                              U.S. District Judge
Dated: Brooklyn, NY

        May 9, 2024


CONSENTED TO:


_______________________________
Defendant’s signature & Date


__________________________________
Attorney for Defendant’s signature


_________________________________
Magistrate Judge
